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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

In re:                                                             Case No. 18-26085-BKC-RAM
                                                                   Chapter 7
BARRY DE VERTEUIL
SSN: XXX-XX-3728

          Debtor.                         /

  TRUSTEE, BARRY E. MUKAMAL’S AGREED EX PARTE MOTION TO ENLARGE
     TIME TO FILE COMPLAINT OBJECTING TO DEBTOR’S DISCHARGE

           Barry E. Mukamal, as Chapter 7 trustee of the bankruptcy estate of Barry de Verteuil (the

“Trustee”), through counsel and pursuant to Fed. R. Bankr. P. 9006(b) and Local Rule 9013-

1(C), files this Agreed Ex Parte Motion to Enlarge Time to File Complaint Objecting to Debtor’s

Discharge (the “Motion”) and in support thereof, states as follows:

                                              I.      Background

           1.       This case commenced with the filing of a voluntary Chapter 7 petition by Barry

De Verteuil (the “Debtor”) on December 28, 2018 (the “Petition Date”). Shortly thereafter, Barry

E. Mukamal was appointed as Chapter 7 trustee of the Debtor’s bankruptcy estate (the “Estate”).

           2.       The 341 Meeting of Creditors was held and concluded on February 5, 2019.

           3.       The current deadline for the Trustee to file a complaint objecting to the Debtor’s

discharge is April 8, 2019.

           4.       The Trustee is in the process of reviewing information and documentation from

the Debtor in order to determine whether cause exists to file a complaint objecting to the

Debtor’s discharge.

                                               II. Requested Relief

           5.       Accordingly, counsel for the Trustee and counsel for the Debtor have agreed that

the Trustee shall have an additional sixty (60) days, up to and including June 7, 2019, to file a

complaint objecting to Debtor’s discharge.
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            6.    This request is made only on behalf of the Trustee and is not a request for

enlargement for any creditor or other party-in-interest.

            7.    Fed. R. Bankr. P. 9006(b) provides that the Court may, for cause shown, enter an

Order enlarging time, with or without motion or notice, if the request is made before the

expiration of the period originally prescribed or as extended.

            8.    Pursuant to Local Rule 5005-1(G), a proposed Order accompanies this Motion.

            WHEREFORE, Barry E. Mukamal, as Chapter 7 Trustee of the Bankruptcy Estate of

Barry de Verteuil, respectfully requests this Honorable Court enter an Order: (1) granting the

instant Motion; (2) finding that cause exists to enlarge the time for the Trustee to file a complaint

objecting to the Debtor’s discharge; (3) enlarging the time for the Trustee to file a complaint

objecting to the Debtor’s discharge through and including June 7, 2019; and (4) granting such

other and further relief as this Court deems just and proper.

                                                      Respectfully submitted,

                                                      BAST AMRON LLP
                                                      Counsel for the Trustee, Barry E. Mukamal
                                                      One Southeast Third Avenue, Suite 1400
                                                      Miami, Florida 33131
                                                      Telephone: 305.379.7904
                                                      Email: sbrown@bastamron.com
                                                      Email: hharrison@bastamron.com

                                                      By:/s/ Hayley G. Harrison
                                                         Scott N. Brown, Esq. (FBN 663077)
                                                         Hayley G. Harrison, Esq. (FBN 105157)




              
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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished on

the 5th day of April 2019 as follows.


                                                      /s/ Hayley G. Harrison
                                                      Hayley G. Harrison, Esq.

VIA CM/ECF

           Scott N Brown sbrown@bastamron.com, kjones@bastamron.com
           Hayley G Harrison hgerson@bastamron.com, jmiranda@bastamron.com,
           Timothy S Kingcade scanner@miamibankruptcy.com, kingcadeserve@bellsouth.net,
            r46540@notify.bestcase.com
           Barry E Mukamal bemtrustee@kapilamukamal.com, FL64@ecfcbis.com
           Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
           Russell Robbins rrobbins@brlawyers.com, ygcostalaw@aol.com
           Nathalie C. Rodriguez nrodriguez@rasflaw.com
           Christopher P Salamone csalamone@rasflaw.com, csalamone@rasflaw.com




              
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